 19-60025-BPH Doc#: 46 Filed: 06/27/19 Entered: 06/27/19 11:47:06 Page 1 of 2



                        UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MONTANA

      In Re                             ) Case No. 19-60025
                                        )
      DONNA B MOHLER                    ) ORDER
                                        )
      SEAN MOHLER                       )
                                        )
                    Debtors.            )

      At Butte in said District this 27th day of June, 2019.

      Upon review of the Amended Stipulation and Agreement between the

Chapter 7 Bankruptcy Trustee Darcy M. Crum and Nationstar Mortgage LLC d/b/a

Mr. Cooper, the Court finds that the terms of the Stipulation and Agreement are

fair and equitable and satisfy the requirements of F.R.B.P. 9019 (a) and 11 U.S.C.

§ 362(d)(1).

      IT IS ORDERED the Amended Stipulation and Agreement between the

Chapter 7 Bankruptcy Trustee Darcy M. Crum and Nationstar Mortgage LLC d/b/a

Mr. Cooper is APPROVED, and the parties shall henceforth be bound by and shall

perform. Nationstar Mortgage LLC d/b/a Mr. Cooper's motion to modify stay filed

February 22, 2019 is GRANTED and the stay is modified, but enforcement is

STAYED until August 31, 2019, to enable the Chapter 7 Trustee time to have a

short sale approved by Nationstar Mortgage LLC d/b/a Mr. Cooper and complete a

sale of the property.
 19-60025-BPH Doc#: 46 Filed: 06/27/19 Entered: 06/27/19 11:47:06 Page 2 of 2



       However, if the Chapter 7 Trustee fails to sell the property by August 31,

2019, Creditor shall be allowed to immediately exercise its remedies under state

law without further order from this Court.
